Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 1 of 8   PageID #:
                                   1377


JOHN R. REMIS, JR., #4593
P. O. Box 38112
Honolulu, Hawai‘i 96837
Telephone: (808) 524-4343
Facsimile: (888) 502-9102
E-Mail: JRRHNL@aol.com

ROBERT D. EHELER, Jr., #5786
Pauahi Tower at Bishop Square
1003 Bishop Street, Suite 2700
Honolulu, Hawai‘i 96813
Telephone: (808) 531-9957
Facsimile: (866) 612-9956
E-Mail: rdelawoffice@gmail.com

Attorneys for Defendants
ABNER GAURINO, AURORA GAURINO
and ABIGAIL GAURINO

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada      )    Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B.   )
STANLEY, as TRUSTEE for THE           )    DEFENDANTS AND THIRD
EDMON KELLER AND CLEAVETTE            )    PARTY PLAINTIFFS ABNER
MAE STANLEY FAMILY TRUST;             )    GAURINO, AURORA
CRAIG B. STANLEY, individually;       )    GAURINO AND ABIGAIL
MILLICENT ANDRADE, individually,      )    GAURINO’S THIRD PARTY
                                      )    COMPLAINT AGAINST THIRD
                    Plaintiffs,       )    PARTY DEFENDANTS
                                      )    BEVERLY G. ALVAREZ,
            vs.                       )    Individually and doing business as
                                      )    Westrend Realty, VERLIN LIM
ABNER GAURINO, AURORA                 )    SANCIANGCO AND
GAURINO, ABIGAIL GAURINO,             )    WESTREND REALTY, INC., a
INVESTORS FUNDING                     )    California Corporation
CORPORATION, as Trustee for an        )     (Caption continued on next page)
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 2 of 8   PageID #:
                                   1378


unrecorded Loan Participation          )
Agreement dated June 30, 2014;         )
APT-320, LLC, a Hawai‘i Limited        )
Liability Company, CRISTETA C.         )
OWAN, an individual; ROMMEL            )
GUZMAN; FIDELITY NATIONAL              )
TITLE & ESCROW OF HAWAI‘I and          )
DOES 1-100 Inclusive,                  )
                                       )
                  Defendants.          )
                                       )
                                       )
ABNER GAURINO, AURORA                  )
GAURINO AND ABIGAIL                    )
GAURINO,                               )
                                       )
            Third Party Plaintiffs,    )
                                       )
            vs.                        )
                                       )
BEVERLY G. ALVAREZ, Individually )
and doing business as Westrend Realty, )
VERLIN LIM SANCIANGCO AND              )
WESTREND REALTY, INC., a               )
California Corporation,                )
                                       )
            Third Party Defendants.    )
                                       )

  DEFENDANTS AND THIRD PARTY PLAINTIFFS ABNER GAURINO,
   AURORA GAURINO AND ABIGAIL GAURINO’S THIRD PARTY
  COMPLAINT AGAINST THIRD PARTY DEFENDANTS BEVERLY G.
  ALVAREZ, INDIVIDUALLY AND DOING BUSINESS AS WESTREND
      REALTY, VERLIN LIM SANCIANGCO AND WESTREND
         REALTY, INC., A CALIFORNIA CORPORATION




                                      -2-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 3 of 8           PageID #:
                                   1379


      Defendants and Third Party Plaintiffs, Abner Gaurino, Aurora Gaurino and
Abigail Gaurino bring a third party complaint against Beverly G. Alvarez,
Individually and doing business as Westrend Realty, Verlin Lim Sanciangco, and
Westrend Realty, Inc., a California Corporation and allege as follows:
                                 JURISDICTION:
      1.     This Court has supplemental jurisdiction over the above Third Party
Defendants pursuant to 28 U.S.C. § 1367. The First Amended Complaint alleges
violations of “Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. §
78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5SEC”,
violations of which this Court has exclusive jurisdiction, and diversity jurisdiction
pursuant to 28 U.S.C. § 1332. This Third Party Complaint alleges claims arising
out of the same case or controversy.
      2.     This Court has further supplemental jurisdiction pursuant to H.R.S. §
634-35 because the Third Party Defendants unlawfully conducted a real estate
transaction in Hawai‘I involving Hawai’i real estate.
                                    PARTIES:
      3.     Abner Gaurino is and was at all times relevant herein, a California
resident;
      4.     Aurora Gaurino is and was at all times relevant herein, a California
resident;
      5.     Abigail Gaurino is and was at all times relevant herein, a California
resident;




                                         -3-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 4 of 8           PageID #:
                                   1380


      6.     Upon information and belief, Verlin Lim Sanciangco is and was at all
times relevant herein, a California resident and a California licensed real estate
salesperson operating under license number 01707290 with the California Bureau
of Real Estate;
      7.     Upon information and belief, Beverly G. Alvarez is and was at all
times relevant herein, a California Resident and a California Licensed real estate
broker doing business as Westrend Realty, operating under license number
01263030 with the California Bureau of Real Estate and the Licensed/Designated
Officer for Westrend Realty, Inc.;
      8.     Upon information and belief, Westrend Realty, Inc. is a California
corporation with its principal place of business located at 3610 Central Avenue,
Suite 400, Riverside, California 92506 and a branch office located at 8880
Benson Avenue, Suite 108, Montclair, California 91763;
      9.     Upon information and belief, Beverly G. Alvarez, as the principal
broker or broker in charge, of Westrend Realty, Inc., is Mr. Sanciangco’s
employing broker;
      10.    Upon information and belief, Mr. Sanciangco was at all times herein
alleged the branch and/or division manager for Westrend Realty, Inc.’s branch
office with a physical address of 8880 Benson Avenue, Suite 108, Montclair,
California 91763 and held himself out to be the founder and Chief Executive
Officer. Mr. Sanciangco controlled and directed the branch office’s actions and
conduct.




                                         -4-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 5 of 8           PageID #:
                                   1381


                          FACTUAL ALLEGATIONS:
      11.    Upon information and belief, Ms. Alvarez, as the principal broker or
broker in charge, knew or should have known of Mr. Sanciangco’s wrongful
conduct hereinafter alleged;
      12.    Upon information and belief, Mr. Sanciangco acted in a dual agent
capacity for a Hawai‘i real estate transaction in which he represented Atooi Aloha,
LLC, a Hawai‘i Limited Liability Company, Millicent Andrade as its Managing
Member and Defendants, Abner, Aurora and Abigail Gaurino when he wasn’t
licensed as a real estate agent in Hawai‘i or registered to do business in Hawai‘i;
      13.    Upon information and belief, Westrend Realty, Inc. was not
registered to do business in Hawai‘i;
      14.    Westrend Realty received $8,000.00 as a commission in the form of a
check dated January 31, 2014 for $5,000.00 and a second check dated February 6,
2017 for $3,000.00 both of which occurred before the closing of escrow on or
about February 7, 2014;
      15.    Shortly after closing, Mr. Sanciangco entered into a Property
Management Agreement with Abner and Aurora Gaurino for the real property
commonly known as 3721 Kanaina Avenue, Apartment 320, Honolulu, Hawai‘i
96815 (“Apartment 320") that was to begin on March 1, 2014 and began
collecting rents and receiving a percentage of the rent collected;
      16.    During the Summer of 2014, Mr. Sanciangco explained to Abner and
Aurora Gaurino that to sell the property shortly after closing would not be of much
benefit to them because of the tax consequences. Instead he convinced them to
have their daughter Abigail obtain a hard money loan and use the money for his
personal real estate investment purposes. Mr. Sanciangco found Defendant


                                         -5-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 6 of 8             PageID #:
                                   1382


Investors Funding Corporation and Abigail applied for and received an interest
only loan for $220,000.00 on or about early July, 2014. Of that amount, Mr.
Sanciangco convinced Abner and Aurora to extend him a $100,000.00 loan for
investment purposes. Mr. Sanciangco explained that he would flip houses and pay
the Gaurinos an annual percentage and pay back the loan in a years time. Such
was not done although duly demanded;
       17.    The third-party Defendants, BEVERLY G. ALVAREZ, Individually
and doing business as Westrend Realty, VERLIN SANCIANGCO and
WESTREND REALTY, INC. all breached their contracts with the Gaurino Third
Party Plaintiffs, breached their fiduciary duties to the Gaurino Third Party
Plaintiffs, were unjustly enriched, acted without legal authority, owed a duty of
care to the Gaurino Third Party Plaintiffs which they breached and thus were
negligent, and acted with gross negligence and failed to return moneys demanded.
       18.    At all times relevant, said Third Party Defendants were licensed
professionals subject to the laws, rules and regulations of the State of California
pertaining to real estate brokers and salespersons. Said Defendants conduct led to
the acquisition of the Property by the Gaurino Defendants and Third Party
Plaintiffs.
       19.    It is the actions of these professionals that was the proximate cause of
any damage to the Gaurino Third Party Plaintiffs, if it is determined that there was
such damage.
       20.    The Gaurino Defendants and Third Party Plaintiffs are entitled to full
contribution and indemnification from Third Party Defendants for any and all
damages awarded in this litigation to Plaintiff.



                                          -6-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 7 of 8           PageID #:
                                   1383


      21.      As a result the foregoing conduct of the Third Party Defendants,
Third Party Plaintiffs were damaged in an amount to be determined at the trial of
this action.
      WHEREFORE, Third Party Plaintiffs, Abner, Aurora and Abigail Gaurino,
pray for Judgment Jointly and Severally against the Third Party Defendants as
follows:
      1.       That process of this Court issue commanding the Third Party
Defendants to appear and answer this Third Party Complaint;
      2.       That each of the Third Party Defendants be ordered to account for all
funds received for or on account of the Gaurinos in connection with the foregoing
allegations;
      3.       That there be an Order that all funds received by the Third Party
Defendants from or on behalf of the Gaurinos be disgorged and returned to them
including any unpaid principal, accrued interest, late charges, advances, expenses,
pre- and post-judgment interest, and attorneys fees;
      4.       That the Third Party Defendants be adjudged to contribute and/or
indemnify the Gaurinos for any and all damages awarded in this litigation to
Plaintiff and against the Gaurino Defendants.




                                          -7-
Case 1:16-cv-00347-JMS-RLP Document 187 Filed 11/06/17 Page 8 of 8       PageID #:
                                   1384


      5.    That the Gaurinos may have such other and further relief as this Court
deems proper.
      Dated: Honolulu, Hawai‘i, November 6, 2017.


                                     /s/ John R. Remis, Jr.
                                     John R. Remis, Jr.
                                     Robert D. Eheler, Jr.
                                     Attorneys for Defendants and Third Party
                                     Plaintiffs Abner, Aurora, and Abigail
                                     Gaurino




                                       -8-
